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      Fill in this information to identify the case:

      Debtor 1    Hilery Marie Leatherman

      Debtor 2      Thomas Edward Leatherman, II
      (Spouse, if filing)

      United States Bankruptcy Court of Maryland

      Case number 24-15386




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Freedom Mortgage Corporation                          Court claim no. (if known): 29

  Last four digits of any number you use to
  identify the debtor’s account: 4766

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
            No
           Yes. Date of the last notice:       /   _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                 Dates incurred                                 Amount

    1. Late charges                                                                                                  (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                               (2)   $ 0.00
                                                                 07/24/2024 Objection to Plan $550;07/09/2024
    3. Attorney’s fees                                                                                               (3)   $ 950.00
                                                                              plan Review $400
    4. Filing fees and court costs                                                                                   (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                   09/04/2024 Proof of Claim $550               (5)   $ 550.00
    6. Appraisal/Broker’s price opinion fees                                                                         (6)   $ 0.00
    7. Property inspection fees                                                                                      (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                     (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                               (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                      (10)   $ 0.00
  11. Other. Specify:                                                                                               (11)   $ 0.00
  12. Other. Specify:                                                                                               (12)   $ 0.00
  13. Other. Specify:                                                                                               (13)   $ 0.00
  14. Other. Specify:                                                                                               (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



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    Debtor1    Hilery Marie Leatherman                                    Case number (if known) 24-15386
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Andrew Spivack
         Signature
                                                                                  Date 10/17/2024



    Print: Andrew Spivack (21497)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email M D B K R @ b r o c k a n d s c o t t . c o m




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                                   CERTIFICATE OF SERVICE

I hereby certify that on the 17th day of October, 2024, I reviewed the Court’s CM/ECF system and it
reports that an electronic copy of the Notice Of Postpetition Mortgage Fees, Expenses, And Charges
will be served electronically by the Court’s CM/ECF system on the following:

Timothy P. Branigan, Chapter 13 Trustee

David Erwin Cahn, Debtor’s Attorney

I hereby further certify that on the 17th day of October, 2024, a copy of the Notice Of Postpetition
Mortgage Fees, Expenses, And Charges was also mailed first class mail, postage prepaid to:

Hilery Marie Leatherman
4487 Tulip Tree Lane
Middletown, MD 21769

Thomas Edward Leatherman, II
4487 Tulip Tree Lane
Middletown, MD 21769



                                             /s/Andrew Spivack
                                             Andrew Spivack, MD Fed. Dist. No. 21497
                                             Ryan Srnik, MD Fed. Dist. No. 30811
                                             M. Christine Maggard, MD Fed. Dist. No. 31067
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
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